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                                                        "will be turning him into the Marshals shortly".
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